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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF ARIZONA

                                                               )
            In Re Subpoena to T-Mobile Issued By Select        )          Case No. to be assigned
            Committee to Investigate the January 6th Attack on )          MOTION TO QUASH
            the U.S. Capitol.                                  )          CONGRESSIONAL
                                                               )          SUBPOENA

                               Declaration of Kelli Ward in Support of Motion to Quash
                1. I am of over 18 years of age and have personal knowledge of the facts set forth
                    herein.
                2. I am a resident of Lake Havasu City, Arizona.
                3. I obtained my BS in psychology from Duke University in Durham, North Carolina
                    in 1991.
                4. I attended medical school at the West Virginia School of Osteopathic Medicine in
                    Lewisburg, West Virginia, where I received my Doctor of Osteopathic Medicine
                    (D.O.) degree in 1996.
                5. Since December of 2019, I have practiced exclusively in the field of medical
                    weight loss.
                6. My understanding is that the subpoena issued to T-Mobile seeks the production
                    of certain information about all individuals who called, or were called, from the
                    telephone numbers associated with the account 928-486-4220 (Mole Medical)
                    between November 1, 2020 and January 31, 2021.
                7. I became aware that this information had been subpoenaed on or around
                    January 25, 2022
                8. In 2019, I was elected Chairwoman of the Arizona Republican Party, a position I
                    still hold. However, I still practice medicine part-time. The position of
                    Chairwoman is unpaid, so treating medical weight loss patients allows me to
                    maintain an income stream. I also derive meaning and satisfaction from my work
                    outside of politics as a doctor.
                9. Since the COVID-19 pandemic began, I have seen patients almost exclusively via
                    telemedicine.
                10. For many of my patients, the mere fact that they are seeing a doctor for medical
                    weight loss is a sensitive issue.
                11. Further, my patients sometimes bring up other sensitive topics during their
                    telemedicine visits. Examples include diabetes, high blood pressure, thyroid
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                    issues, psychological problems, anxiety, depression, insomnia, and eating
                    disorders.
                12. I use a HIPAA-compliant videoconferencing system during my patients’
                    telemedicine visits. However, sometimes my patients or I will have trouble with
                    the system. In such cases, I call patients from a telephone line associated with
                    Mole Medical and we conduct the visit telephonically. When this occurs, my
                    typical practice is to note it in the medical records for that visit.
                13. From November 1, 2020, to January 31, 2021, I worked approximately five shifts.
                14. I estimate that I typically see 30-40 patients per shift.
                15. To the best of my knowledge, all my patients are located in Arizona. However,
                    many of them have moved to Arizona from other states and have telephone
                    numbers with area codes associated with different states.
                16. In general, I call some patients by telephone during a normal shift. Hard
                    confirmation of which patients I called during a given shift and their phone
                    numbers would require me to look through the medical records for each of my
                    patients that I saw on a given day which would be an extraordinarily burdensome
                    task.
                17. Other than my line, there are three other active phone lines associated with this
                    account: one belonging to my husband, and two to my children.
                18. Besides my patients, I frequently exchange calls and texts with my daughter, son
                    (and his girlfriend), mother, mother-in-law, father-in-law, father, stepfather,
                    friends, etc. on my Mole Medical line. I also make and receive calls of a political
                    nature on the line as well.
                19. Because of the controversy associated with my service as Republican nominee for
                    elector and AZGOP Chairwoman in the aftermath of the 2020 election, I have
                    received numerous death threats, harassing letters, and phone calls.


                I declare under penalty of perjury under the laws of The United States of America

            that the foregoing is true and correct and that this declaration was executed on this
            1/31/2022                      Salt Lake City            Utah
            _________________, at ____________________(city), ______________ (state).

                                                                  Kelli Ward
            Signature: _____________________ Printed Name: _____________________________
